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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN


ERVINE LEE DAVENPORT,
MDOC Inmate #179762

                    Petitioner

v                                                Civil Action No. _______________


DUNCAN MACLAREN, Warden
Kinross Correctional Facility,

                    Respondent

_______________________________________/



                     PETITION FOR WRIT OF HABEAS CORPUS

                MEMORANDUM OF LAW IN SUPPORT OF PETITION




STATE APPELLATE DEFENDER OFFICE

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                            UNITED STATES DISTRICT COURT
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ERVINE LEE DAVENPORT,
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                       Petitioner
v                                                              Civil Action No. _______________

DUNCAN MACLAREN, Warden
Kinross Correctional Facility,

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_______________________________________/

                        PETITION FOR WRIT OF HABEAS CORPUS

Petitioner, ERVINE LEE DAVENPORT, respectfully states:

1.       Petitioner is a citizen of the United States, domiciled in Michigan, and is currently

imprisoned in Chippewa County, Michigan. This case arose in Kalamazoo County, Michigan.

Venue is proper in this Court for this habeas corpus case pursuant to W.D. Mich. LCivR 3.2.

2.       Petitioner is currently unconstitutionally detained and imprisoned by the Respondent,

Warden Duncan MacLaren, in the Kinross Correctional Facility, where he is serving a non-

parolable life term for first-degree murder, habitual offender fourth. (People v. Ervine Lee

Davenport, Kalamazoo County Circuit Court Case No. 07-0165-FC)

3.       Petitioner has exhausted all state remedies available to him with regard to the

constitutional issue raised in this petition by taking the following steps:

            a. On July 18, 2008, Petitioner was convicted after a jury trial of first-degree
               murder.

            b. Petitioner raised constitutional issues in a timely filed appeal of right in the
               Michigan Court of Appeals.
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       c. On March 26, 2009, he timely sought a remand from the Michigan Court of
          Appeals for an evidentiary hearing to develop the factual basis for the shackling
          claim, a necessary predicate to the appellate court’s ability to reach the merits of
          the underlying claim.

       d. On May 8, 2009, the Michigan Court of Appeals denied the motion to remand.

       e. On June 3, 2009, Petitioner filed his brief on appeal in the Michigan Court of
          Appeals, arguing, among other issues:

                     I.      That his constitutional right to due process was violated where
                             his left hand was shackled to his waist for most of the trial.

       f. On August 5, 2010, the Michigan Court of Appeals issued an unpublished
          decision affirming Petitioner’s conviction. People v. Ervine Lee Davenport,
          unpublished opinion per curiam of the Michigan Court of Appeals, issued August
          5, 2010 (No. 287767).

       g. Petitioner raised the same constitutional issue in his application for leave to
          appeal to the Michigan Supreme Court. In an order dated March 9, 2011, the
          Michigan Supreme Court remanded to the Circuit Court for an evidentiary
          hearing to determine whether the jury saw the Petitioner’s shackles, and to
          determine whether the prosecution could demonstrate beyond a reasonable doubt
          that the shackling error did not contribute to the verdict against the Petitioner.
          People v. Davenport, 488 Mich. 1054 (2011).

       h. On June 24, 2011 and July 29, 2011, the evidentiary hearings were held in the
          Kalamazoo County Circuit Court. The jurors were brought in to court and
          questioned under oath. The Circuit Court found that the shackles were visible, but
          ruled that it was harmless error based on the jurors’ self-evaluation. See Brief in
          Support of Petition.

       i. Petitioner appealed as of right, and on March 2, 2012, Petitioner filed his brief on
          appeal in the Michigan Court of Appeals, arguing that:

                I.        Petitioner’s Fourteenth Amendment right to due
                          process was violated where he was shackled during
                          trial, where the shackles were visible and seen by five
                          jurors and the subject of comments heard by two
                          additional jurors, and where the prosecution cannot
                          demonstrate beyond a reasonable doubt that the
                          shackling error did not contribute to the verdict.


       j. In an unpublished opinion dated December 13, 2012, the Michigan Court of
          Appeals found the shackling issue harmless and affirmed Petitioner’s conviction.
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                People v. Ervine Lee Davenport, unpublished opinion per curiam of the Michigan
                Court of Appeals, issued December 13, 2012 (No. 306868).

             k. Petitioner raised the same constitutional issue in his application for leave to
                appeal to the Michigan Supreme Court. In an order dated July 3, 2013, the
                Michigan Supreme Court denied leave to appeal, but found that the Michigan
                Court of Appeals “erroneously failed to consider defendant’s claim in light of the
                United States Supreme Court decision in Holbrook v Flynn, 475 US 560, 570; 106
                S Ct 1340; 89 L Ed 2d 525 (1986)(“the question must be not whether jurors
                actually articulated a consciousness of some prejudicial effect, but rather whether
                ‘an unacceptable risk is presented of impermissible factors coming into play.’”),
                citing Estelle v Williams, 425 US 501, 505; 96 S Ct 1691; 48 L Ed 2d 126
                (1976)”. The Michigan Supreme Court found the error harmless under the facts
                of this case. People v. Ervine Lee Davenport, 494 Mich. 875 (2013).

        4.      The time for filing a petition for writ of certiorari expire on October 1, 2013.

Supreme Court Rule 13.1; 28 U.S.S. § 1257(a).            Petitioner did not avail himself of the

opportunity to petition for a writ of certiori in the United States Supreme Court.

        5.      Petitioner’s Fourteenth Amendment right to due process was violated where he

was shackled during trial, where the shackles were visible and seen by five jurors and the subject

of comments heard by two additional jurors, and where the prosecution cannot demonstrate

beyond a reasonable doubt that the shackling error did not contribute to the verdict.

        6.      Petitioner has not filed any previous Petition for Writ of Habeas Corpus in this or

any other federal district court.

        7.      The instant petition is timely brought within the one-year statute of limitations

for habeas corpus actions under 28 U.S.C. §2244(d)(1)(A). The time for filing a petition for

certiorari to the United States Supreme Court expired on October 1, 2013. Supreme Court Rule

13.1; 28 U.S.C. §1257(a). Petitioner did not avail himself of the opportunity to petition for a writ

of certiorari in the United States Supreme Court. This petition is being filed within the one-year

statute of limitations for habeas corpus actions, which expires on October 1, 2014, under 28

U.S.C. §2244(d)(1)(A).         Bronaugh v. Ohio, 235 F.3d 280, 283 (6th Cir. 2000).
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THEREFORE, Petitioner Ervine Lee Davenport requests:

A.      That Respondent be required to appear and answer the allegations in this Petition;

B.      That, after full consideration, this Court relieve Petitioner of the unconstitutional restraint

on his liberty;

C.      That this Court grant such other, further, and different relief as the Court may deem just

and proper under the circumstances; and

D.      That this Court grant oral argument in this matter.

                                       Respectfully submitted,

                                       STATE APPELLATE DEFENDER OFFICE

                                       BY:     s/ Valerie R. Newman__________
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Dated: September 25, 2014
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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN


ERVINE LEE DAVENPORT,
MDOC Inmate #179762

                    Petitioner

v                                                Civil Action No. _______________


DUNCAN MACLAREN, Warden
Kinross Correctional Facility,

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_______________________________________/




                MEMORANDUM OF LAW IN SUPPORT OF PETITION
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               STATEMENT OF QUESTION PRESENTED

I.   WAS PETITIONER DENIED HIS FEDERAL CONSTITUTIONAL RIGHT TO DUE
     PROCESS WHERE HE WAS SHACKLED DURING TRIAL, WHERE THE SHACKLES
     WERE VISIBLE AND SEEN BY FIVE JURORS AND THE SUBJECT OF COMMENTS
     HEARD BY TWO ADDITIONAL JURORS, AND WHERE THE PROSECUTION
     FAILED TO DEMONSTRATE BEYOND A REASONABLE DOUBT THAT THE
     SHACKLING ERROR DID NOT CONTRIBUTE TO THE VERDICT?


                       State Courts answer, “No”.

                       Petitioner answers, "Yes".




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                  STATEMENT OF PROCEEDINGS AND FACTS

       Petitioner ERVINE LEE DAVENPORT was convicted of first-degree murder, M.C.L. §

750.316, after a jury trial in the Kalamazoo County Circuit Court, the Honorable Pamela

Lightvoet presiding. He was enhanced as an habitual offender, fourth offense, M.C.L. § 769.12.

On August 25, 2008, Petitioner was sentenced to life imprisonment. Petitioner seeks to appeal

the Michigan Appellate Courts’ decisions affirming his conviction and sentence.



Trial – July 2008

       During trial, Petitioner was shackled with a belly chain, a wrist shackle on his left hand,

and leg shackles. 1 His right hand was uncuffed to allow him to write notes to defense counsel

during trial. Petitioner objected to the judge’s decision to shackle him, but was overruled (T I,

20-23, 113). 2   The record reveals that Judge Lightvoet made none of the pretrial findings

necessary to warrant shackling (T I, 20-23).

       The instant case involved the death of Annette White on January 12, 2007.                The

prosecution alleged that Petitioner strangled Ms. White while they were arguing in a car, and

then Petitioner dumped her body in the woods. The defense maintained that Petitioner acted in

self-defense, after Ms. White produced a box cutter during the argument.

       An autopsy performed by Dr. Brian Hunter, a forensic pathologist, revealed that the cause

of death was manual strangulation (T II, 397-404). Dr. Hunter testified that the body weighed

103 pounds and was 62 inches in length at the time of the autopsy (T II, 396-397). At the time of

1
  At the time of trial, Petitioner was a 43-year-old African-American male who was 6’5” tall and
weighed 270 pounds. See Basic Information Sheet of Presentence Investigation Report.
2
  For purposes of this brief, the trial transcripts will be referred to as T, followed by the volume
and then the page number(s) cited. T refers to the transcripts from July 8, 2008 through July 18,
2008. There are a total of eight volumes. EHT refers to evidentiary hearing transcripts from June
24, 2011 and July 29, 2011.

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her death, there was cocaine in her system and she had a blood alcohol level of .12 (T II, 410-

413).

        During questioning by Captain Mallery, Petitioner said that he had killed Ms. White, but

that it was in self-defense after she had produced a box cutter during an argument in the car. He

said that they had been smoking crack and she started acting crazy. When she produced a box

cutter, he said that he reached across and held her back by her throat. When she slumped down

in the seat, he drove over to Blakeslee and placed her body in the woods. He signed a written

statement to this effect (T IV, 808-810; see also T V, 936-943).

        Gary Latham processed the car that Petitioner was driving. Latham testified that when he

first processed the multiple items in the car, he did not find a box cutter. However, after

receiving a phone call from the prosecutor about a month prior to trial, Latham found a box

cutter inside a tool bag that had been in the car but not inventoried earlier (T II, 461-474).

        Earl Carswell testified that he saw Annette White with Petitioner during the evening

hours of January 12, 2007 when they were at the Carswell’s apartment. Earl Carswell testified

that they were drinking alcohol and smoking crack cocaine. He said Ms. White had started

getting crazy when she and Petitioner left Carswell’s home about 2:30 a.m. (T III, 537-552).

Mrs. Carswell described Ms. White as being “kind of weirded out” and “strange” that night (T

III, 562-563, 571-575).

        The prosecution also presented evidence that in the days after Ms. White’s death,

Petitioner went into a K-Mart store and changed his shoes (T III, 646-648, 652-653). The police

recovered a pair of blue tennis shoes from the shoe department at K-Mart (T III, 672-677, 697,

706-711). Gerald Luedecking, a crime lab specialist, opined that the shoes in Exhibit 28 had the

same class characteristics as the shoe impressions (Exhibits 23, 24 and 27) taken at the scene




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where the body was found. He testified that the shoes in Exhibit 28 were the exact same size and

could have made the impressions. Due to the lack of accidental characteristics, he was unable to

say definitely that they matched (T II, 386-387, 430-431, 434-438).

       Petitioner’s cousin, Marvin Fraction, testified that Petitioner occasionally stayed with him

in January 2007. During that time period, Petitioner gave him a dehumidifier and a stereo with

speakers. He identified Exhibits 42 and 43 as photos of the dehumidifier and the speakers. Mr.

Fraction turned these items over to the detectives (T III, 598-605).

       Kenneth Cooper testified regarding a prior incident.        He observed Petitioner choke

Cooper’s girlfriend, Leslie Snook, on January 8, 2007. Cooper testified that Petitioner put his

hands around Snook’s throat and lifted her off the floor, and that Snook passed out. Cooper was

not there when the incident started, but he said that Snook and Petitioner had been arguing all

day. Cooper did not think the incident was serious enough to call the police (T III, 712-719).

Leslie Snook testified that she and Petitioner had exchanged words prior to him choking her.

She did not report the incident to the police because she had outstanding warrants (T III, 721-

726). Petitioner denied the allegations about this incident (T V, 866-867; T VI, 1071-1072).

       After the prosecution rested (T V, 961), the defense called Andre Randall as a defense

witness. He had known Annette White for 6-9 months, while they lived in the same apartment

building. He testified that she had a reputation for being a “spitfire”, and she was always in

conflict with someone in the building, including physical conflicts (T V, 966-967). He confirmed

that he was initially a suspect in this case and that he was questioned by the police for ten hours

(T V, 967-980).




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         Arthur Spann testified that he had known Annette White for a couple of years. He

testified that she had a reputation for getting angry when she smoked crack cocaine (T VI, 1002-

1004).

         Petitioner took the stand and confirmed that he knew Annette White. He testified to a

prior instance where she grabbed a knife and kicked him out. He did not report the incident

because it involved drugs (T VI, 1014-1016). He described another incident when she was going

through Tonya’s belongings and he ordered her to leave; when she refused to leave, he took her

by the arm and tried to walk her to the door. However, she grabbed a pot off the stove and

started swinging it at him (T VI, 1017-1018).

         With regard to January 12, 2007, Petitioner saw Annette White about noon when she was

yelling at Andre Randall about her broken arm. At some point later in the day, Petitioner left

with his girlfriend, Tonya Murray, and Andre Randall to get some money and to go to the store

(T VI, 1018-1020). He confirmed that he was in the car with Annette White about 2:00 a.m. and

that they went to two areas to buy some drugs. While they were on Woodbury Street, Ms. White

was yelling at someone named Todd (T VI, 1020-1023). They then went to the Carswells’

residence, where they drank beer and smoked crack, and Ms. White was arguing with both Mr.

and Mrs. Carswell. When they left the Carswells’ residence, Petitioner planned to take Ms.

White to her residence. Petitioner was driving a Buick that he got from Tracie Goltzene in

exchange for giving her crack (T VI, 1023-1031).

         When they got in the car, Petitioner was trying to calm Ms. White down. She complained

that it was hot and started removing her clothes. She proceeded to try to smoke more crack in the

car, but became agitated when it didn’t work. She demanded that Petitioner take her to an

apartment on Alamo Hill, but Petitioner refused. She grabbed the steering wheel twice and




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Petitioner pushed her back each time. She started yelling and kicking, and then she pulled a box

cutter from her side. Petitioner thought it was a knife; he learned it was a box cutter later. She

started swinging the box cutter at him and hit his right arm with it. Petitioner was afraid that she

might hit his neck with the box cutter. He pushed her towards the other side of the car, but she

continued to swing the box cutter at him. He grabbed her under the chin, on her chest, and

pinned her up against the other side of the car. She dropped the box cutter, but started kicking.

When he grabbed her again, she reached over and scratched Petitioner’s face. He intended to

hold her back until he got to her house, but at some point he realized that she was no longer

struggling. He thought she had calmed down, but when he pulled the car over, he discovered

that she wasn’t breathing (T VI, 1033-1046). In a panic, he drove around trying to figure out

what to do. He considered calling the police, but he and the police were not friends. He left Ms.

White’s body in a field and drove to his mother-in-law’s (Lenora Stewart) house in Portage. He

talked to his mother-in-law and then returned to the north side of town, and then to Marvin’s (T

VI, 1046-1052).

       Petitioner confirmed that he told Captain Mallery the truth and that he was remorseful (T

VI, 1075-1076). He denied that he tried to rob or rape Ms. White (T VI, 1080). He displayed a

scar on his arm that he sustained from Ms. White during the incident (T VI, 1149-1150).

       After the defense rested (T VI, 1154), the prosecutor called six rebuttal witnesses. Det.

Beauchamp testified in rebuttal that during the interview, Petitioner said that Ms. White did not

strike him with the weapon. He said that his clothes may have been damaged, but that he was

not damaged himself. He also did not say that there was a jacket with a tear in it (T VI, 1155).




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       Leslie Snook was recalled as a rebuttal witness. She testified that she did not have a

romantic and/or sexual relationship with Petitioner, and that she did not touch him. She also

denied that she was acting as a prostitute for Ken Cooper (T VI, 1161-1162).

       Leslie Willson, a parole officer, testified that she supervised Annette White while she

was on parole. She opined that Ms. White did not have a reputation for violence; however, Ms.

Willson admitted that she did not see Ms. White outside of the parole office contacts, that she did

not speak to Andre Randall or other people who lived in Ms. White’s community, and she did

not see Ms. White smoke crack (T VI, 1166-1172).

       Julie Clark, a supervisor at the probation and parole office, testified that she supervised

Ms. White from 2001 to 2004. She opined that Ms. White was not a violent person in the office.

Ms. Clark acknowledged that Ms. White had “a lot of problems with drugs and alcohol”, and that

she absconded from supervision on a number of occasions (T VI, 1174-1176).

       The prosecution’s last rebuttal witness was Dr. Brian Hunter. He testified that Petitioner’s

claim that he did not choke Ms. White, but instead pushed her with a flexed hand, was not

possible. Dr. Hunter explained that the injury pattern was not consistent with a broad force

placed across the area; rather the injuries were on either side of the ridge and were more

consistent with choking than with a broad pressure (T VII, 1193-1194). On cross, he indicated

that it was possible for the hemorrhaging locations to differ, depending on the size of the hand (T

VII, 1195).

       After arguments by counsel and instructions by the judge which included self-defense (T

VIII, 1276-1278), the jury deliberated and returned with a verdict of guilty of first-degree murder

(T VIII, 1308). On August 25, 2008, Petitioner was sentenced to mandatory life imprisonment

(ST 11).




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State Appellate Proceedings on Direct Appeal Regarding Shackling

       Petitioner fully preserved this issue under State law when defense counsel objected to the

shackling both prior to and during voir dire (T I, 20-23, 113). The record reveals that Judge

Lightvoet made none of the pretrial findings necessary to warrant shackling (T I, 20-23).

       After appealing his convictions as of right, Petitioner obtained an order from the

Michigan Supreme Court which held that: 1) defense counsel adequately preserved the shackling

issue at trial; 2) that Petitioner was entitled to an evidentiary hearing to develop the record “of

whether his shackling during trial prejudiced his defense”; and 3) that “[i]f it is determined that

the jury saw the defendant’s shackles, the circuit court shall determine whether the prosecution

can demonstrate beyond a reasonable doubt that the shackling error did not contribute to the

verdict against the defendant.” People v. Ervine Lee Davenport, 488 Mich. 1054 (SC #141832,

3/9/2011). The Michigan Supreme Court’s Order in its entirety is as follows:

               “On order of the Court, the application for leave to appeal the August
               5, 2010 judgment of the Court of Appeals is considered and,
               pursuant to MCR 7.302(H)(1), in lieu of granting leave to appeal, we
               REVERSE the Court of Appeals order denying the defendant's
               motion to remand for an evidentiary hearing. The defendant should
               have been permitted to develop the record on the issue of whether his
               shackling during trial prejudiced his defense. See Rhoden v.
               Rowland, 10 F.3d 1457, 1460 (C.A. 9, 1993). We also REVERSE
               the Court of Appeals determination that the defendant did not
               preserve the issue of whether his shackling during trial constituted a
               due process violation, because defense counsel requested that both of
               defendant's hands be unshackled to avoid the prejudice that would
               result if the jury saw the shackles, and the circuit court denied her
               request. See Fast Air, Inc. v. Knight, 235 Mich.App. 541, 549, 599
               N.W.2d 489 (1999); trial transcript Volume I, p 113. If it is
               determined that the jury saw the defendant's shackles, the circuit
               court shall determine whether the prosecution can demonstrate
               beyond a reasonable doubt that the shackling error did not contribute
               to the verdict against the defendant. Deck v. Missouri, 544 U.S. 622,
               635, 125 S.Ct. 2007, 161 L.Ed.2d 953 (2005). We REMAND this



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               case to the circuit court for further proceedings consistent with this
               order. In all other respects, leave to appeal is DENIED, because we
               are not persuaded that the remaining questions presented should be
               reviewed by this Court.

               We do not retain jurisdiction.”

               People v. Ervine Lee Davenport, 488 Mich. 1054 (SC #141832,
               3/9/2011).


       Pursuant to the Michigan Supreme Court’s order, evidentiary hearings were held on June

24, 2011 and July 29, 2011 in the Kalamazoo County Circuit Court. In a memorandum filed

prior to the evidentiary hearings, undersigned counsel maintained that the scope of the

questioning of the jurors on remand was limited to whether they observed the shackles. The

scope of the questions to the jurors on remand was discussed at the beginning of the hearing on

June 24, 2011 (EHT 6/24/11, 6-9). Undersigned counsel argued that although it was permissible

to question the jurors regarding whether they observed the shackles, it was not appropriate to

question the jurors about whether it affected their verdict (EHT 6/24/11, 8-9). The Circuit Court

ruled that the jurors could be questioned about whether they observed the shackles and whether it

influenced their decision. Judge Lightvoet noted that she was not in the jury room during

deliberations and that “some of the best evidence that we can get on that issue is asking the jurors

themselves.” (EHT 6/24/11, 9-11).

       At the evidentiary hearings, Petitioner established that the shackles were visible and

actually seen by five of the jurors during trial. Some of these jurors observed the shackles during

voir dire, others observed them and/or discussed them throughout this eight day trial, and some

had discussions or made comments about the shackles as late as the sixth day of trial when

Petitioner took the witness stand. Some of these jurors saw the handcuffs, some observed the

belly chain, and some observed the leg/foot shackles. See Rooseboom (EHT 6/24/11, 14-15);



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Jankord (EHT 6/24/11, 36-37, 40-42); Lewis (EHT 6/24/11, 48-49); Vanderveen (EHT 6/24/11,

81-84, 86, 88); and Whately (EHT 6/24/11, 99-102, 104) (see detailed summary of the extent of

the jurors’ observations infra). Another juror (Padgett) did not see the restraints, but heard 2-3

comments from other jurors about the restraints (EHT 6/24/11, 59-62, 72-73). Another juror

(Kucera) did not see the restraints, but noticed that Petitioner had limited movement and could

only write with one hand during trial; he also heard one comment from another juror in the

hallway about the restraints (EHT 7/29/11, 17, 19).

       After briefing by the parties, the Circuit Judge issued a written opinion dated October 20,

2011. Judge Lightvoet found first that, “There is no question that, despite the precautions taken,

many of the jurors were able to observe Defendant’s shackles/restraints during the trial. This is

clear from the testimony of the jurors and not disputed in the parties’ briefs.” See Judge

Lightvoet’s Opinion After Remand From the Michigan Supreme Court dated 10/20/11, p 2.

Judge Lightvoet then found that the prosecution had met its burden of demonstrating beyond a

reasonable doubt that the fact that Defendant was shackled/restrained did not contribute to the

jury’s guilty verdict. Id., at pp 2-3. In making this finding, Judge Lightvoet relied solely on the

jurors’ testimony at the evidentiary hearings:

                       “The Court finds that the Prosecution has met its burden.
               There was not one juror who testified the shackling issue affected
               their verdict. They testified the issue was not discussed during
               deliberations and they confirmed the verdict was based only on the
               evidence. The jurors who observed the handcuffs or shackles went
               on to testify that the procedure was not a surprise or unexpected.
               They understood it to be ‘routine’, ‘part of the procedure’, for
               ‘security’, not unusual given the charge and/or not unusual in a
               murder trial. There was no evidence/testimony that the
               shackles/restraints was significant to the jurors or made them more
               inclined to find the Defendant guilty. There was no testimony that
               indicated Defendant’s shackles/restraints contributed to the guilty
               verdict. The Prosecution has met its burden on this issue through the
               testimony of the jurors.



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                       WHEREFORE, the Court finds beyond a reasonable doubt
               that the shackling of Defendant during the Trial did not affect the
               juror’s verdict in this case.” Id., at pp 2-3 [footnotes omitted].


Testimony at Post-Remand Evidentiary Hearings Regarding Shackles

       Although it is not disputed that the jurors were able to observe Petitioner’s shackles,

undersigned counsel provides the following summary of the jurors’ testimony on remand to

provide this Court with the extent of the shackling, the extent of the jurors’ observations and

comments, and the resulting prejudice. As noted in the Argument, infra, this case clearly was not

a brief or inadvertent glimpse of a defendant in shackles.

       Kali Roseboom observed Petitioner’s handcuffs on the first day of trial during jury

selection. She was sitting in the front row of the gallery right by Petitioner (EHT 6/24/11, 14-

15).

       Robert Jankord observed that one Petitioner’s hands was cuffed when Mr. Jankord was

seated in the jury box during jury selection (EHT 6/24/11, 36-37). Mr. Jankord also observed the

belly chain while he was sitting in the gallery during jury selection. He recalled seeing

Petitioner’s hands cuffed to the belly chain (EHT 6/24/11, 40-41).         He also noticed that

Petitioner had limited movement at the table when he had his hands up on his legal pad (EHT

6/24/11, 42). Mr. Jankord could not recall if he observed any leg shackles. When asked if leg

shackles would have any significance to him, he testified that it would be “an extra measure of

security for the people and family and stuff in the courtroom.” (EHT 6/24/11, 38-39). He opined

that the purpose of the shackling and the deputies in the courtroom was for security; he

“absolutely” thought that Petitioner might be dangerous (EHT 6/24/11, 43). He added that he

presumed he was dangerous because of the nature of the case (EHT 6/24/11, 45).




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       Bradley Lewis testified that a couple of days into the trial another juror noticed that Mr.

Davenport was restrained and pointed it out; the other juror said, “oh it looks like he is

handcuffed.” Mr. Lewis believed that the comment was made while they were sitting in the jury

box. He testified that the comment was made to a couple of the jurors that were sitting right next

to Mr. Lewis. After the comment, Mr. Lewis noticed that Petitioner was wearing a restraint

(EHT 6/24/11, 48-49). When they returned to the jury room that day, he believed a couple of the

jurors discussed the restraints for a minute or two (EHT 6/24/11, 51). During jury selection, he

was seated in the second or third row on the right hand side of the gallery; he could not recall if

he saw the belly chain (EHT 6/24/11, 53-54).

       James Vanderveen testified that his memory was “fuzzy” after three years, but he recalled

either seeing a handcuff or ankle bracelets on Petitioner, or hearing other jurors discussing

Petitioner’s handcuffs (EHT 6/24/11, 81-82). Mr. Vanderveen also saw the belly chain. His

observations occurred during the first few minutes or first few hours of the whole process, but he

could not recall if he observed them from the gallery during voir dire or from the jury box (EHT

6/24/11, 84, 88). When questioned by the Court, Mr. Vanderveen recalled that there was “a

comment or so” by another juror near the beginning of trial to the effect of “did you see

handcuffs?” He could not recall which juror made this comment (EHT 6/24/11, 85). When the

prosecutor resumed questioning Mr. Vanderveen, he testified that he believed he saw the leg

shackles, but he would “not bet my life on it.” (EHT 6/24/11, 86). There may have been a

comment as the jurors walked down the aisle about “he had shackles on or that kind of thing.”

However, there was no discussion that he recalled (EHT 6/24/11, 86-87). Mr. Vanderveen

acknowledged that there were 2-3 deputies in the courtroom during trial; when he saw the

restraints, he assumed that Petitioner might be dangerous (EHT 6/24/11, 89). He wasn’t fearful




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but he felt safer knowing that Petitioner was charged with murder one and that he was shackled

(EHT 6/24/11, 90). Upon further questioning by the prosecutor, Mr. Vanderveen didn’t know if

the shackling “would necessarily make him more dangerous, maybe it was protocol.” (EHT

6/24/11, 91). He wouldn’t view the shackling as unusual, given the murder charge. Id.

       Michael Whately noticed that Petitioner “is a big guy” (EHT 6/24/11, 98). Mr. Whately

testified that near the beginning of the trial, he observed shackles on Petitioner’s feet. It was on

the first day of trial during jury selection, but he could not recall if he was in the jury box or in

the back gallery portion of the courtroom. During jury selection, he was seated in the second or

third row from the back and closer to the window. In the jury box, he was in the front row (EHT

6/24/11, 99-100, 104). His observation was longer than a brief glimpse. From where Mr.

Whately was sitting, he could see the foot shackles “the whole time that he was sitting there”

(EHT 6/24/11, 101). Mr. Whately pointed it out to the juror sitting next to him; it was a

comment rather than a discussion. Id. Mr. Whately testified that on one occasion during trial, he

also observed that Petitioner was wearing handcuffs. He did not recall when he made this

observation (EHT 6/24/11, 101-102).        Mr. Whately recalled that there were at least three

deputies if not more in the courtroom during the trial; he thought there was a deputy was

standing next to Petitioner when he testified, but he could not “remember for sure” (EHT

6/24/11, 105).    Based on the murder charge, Mr. Whately thought Petitioner “could be

dangerous, but I didn’t think he would do something in here.” (EHT 6/24/11, 106).

       Jennifer Padgett testified that she did not recall seeing Petitioner in restraints, but another

juror had mentioned something about it; the other juror said that Petitioner was restrained, and

that it was the reason for the curtain (table skirt). She testified that this conversation probably

occurred in the middle of trial during lunch time conversation; although she admitted she could




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not remember and it could have occurred in the jury room (EHT 6/24/11, 59-62). Ms. Padgett

explained that her seat in the jury box was in the front row at the end. She felt nervous when one

of the shackled witnesses testified, but there was a deputy standing right there (EHT 6/24/11, 63-

66).   Upon questioning by the Court, Ms. Padgett gave additional details regarding the

conversation with the other juror. After the other juror asked if all the guards made her nervous,

she said she was feeling alright about it. The other juror then said, “well he is restrained.” When

Ms. Padgett said she didn’t notice, the other juror said, “that is why there is a curtain there so it

doesn’t influence what we think.” She could not recall where the conversation occurred, but

believed it occurred during “towards the beginning” (EHT 6/24/11, 66-68).

       Ms. Padgett also testified that when Petitioner testified, “they were sure -- there were

more guards because he wasn’t [restrained].” (EHT 6/24/11, 68). Because she was probably the

closest to Petitioner when he testified, the other juror asked if that made her nervous (EHT

6/24/11, 68-69). She clarified that these were two separate comments – one about the table skirt

and the other about how close she was to Petitioner when he was testifying (EHT 6/24/11, 72).

She believed that the timing of the one comment was after Petitioner testified and that it was

“That is why we had to go out because they needed to move him.” (EHT 6/24/11, 73).

       Shawn Kucera testified that he did not see any restraints. However, when the jury was

escorted out to the hallway, another juror mentioned that “he might have been restrained and that

is probably why we had moved out.” (EHT 7/29/11, 17). Mr. Kucera noticed that Petitioner was

only able to write with one hand during the course of the trial (EHT 7/29/11, 19).

       Hannah Decamp acknowledged that it had been three years since the trial, and she was

having a hard time remembering. She admitted that it was possible she saw the restraints but she

just could not remember (EHT 6/24/11, 29-30).




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       Four jurors testified that they did not see any restraints: Thomas Ruzick (EHT 6/24/11,

76), Thomas Vandermeulen (EHT 6/24/11, 94-95), Sarah Engster (EHT 7/29/11, 4-8), and Mark

Weishaar (EHT 7/29/11, 10-13).

       Over defense counsel’s objection (EHT 6/24/11, 8-11), the prosecutor was allowed to

question the jurors about whether the shackles were discussed during deliberations and whether

the shackles affected their verdict. All of the jurors who observed the shackles and/or heard a

comment about the shackles testified that they did not discuss the shackles during deliberations

and that the shackles did not affect their verdict (EHT 6/24/11, 16-17, 32, 37-40, 51-52, 61-62,

83, 87, 100-103; EHT 7/29/11, 17).

       The prosecutor questioned the jurors about whether they noticed Petitioner’s attire at

trial. Most of the jurors (seven) noticed that Petitioner was wearing an orange jail uniform at the

beginning of the trial (EHT 6/24/11, 14-15, 27, 36, 59, 81, 91, 98).         Jurors Lewis, Ruzick,

Engster, Weishar, and Kucera did not recall seeing the orange jail uniform.

       Juror Vanderveen said that the jail uniform’s significance was that Petitioner was

incarcerated (EHT 6/24/11, 81). Mr. Whately recognized that the jail uniform meant he was in

the county jail (EHT 6/24/11, 99).

       After sitting in various seats of the jury box and the gallery, the prosecutor stipulated that

there were areas in the courtroom where the handcuffs and belly chain were visible depending on

the following factors: where one was seated in the jury box and the gallery, the location of the

podium, whether anyone was seated in front of them, and on how Petitioner was positioned

(EHT 6/24/11, 114, 118). With respect to the jury box, the prosecutor agreed that the wrist

shackle was visible depending on the following factors: how the Defendant was positioned, how

the juror was positioned, where the juror was looking, the podium’s position, and the position of




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the attorney at the podium (EHT 6/24/11, 120). The prosecutor believed that the record showed

the black curtain around the tables was present during trial and that the leg shackles were not

visible (EHT 6/24/11, 120).

        Defense counsel stipulated that depending on whether Ms. Eifler (the trial attorney) was

seated or standing at the lectern, the left wrist shackle and dangling handcuff were visible in

every row on the right side (window side) of the gallery, except the last row. It was more

difficult to see on the left side of the gallery, but there were some places where it was visible.

Defense counsel also stipulated that the shackles, including the dangling right cuff, were visible

from the aisle when jurors walked up the aisle during jury selection (EHT 6/24/11, 114-115, 118-

119). With regard to the jury box, defense counsel noted that the wrist shackle was visible from

every seat in the box (both if juror was seated or standing), depending on whether someone was

standing at the lectern. The belly chain was not visible from the jury box (EHT 6/24/11, 119-

120).

        Judge Lightvoet also noted for the record that the day before the hearing, she went to the

one end of the jury box and determined that “you probably would have been able to see the cuffs

depending on where Petitioner was, his seat and so forth.” (EHT 6/24/11, 116-117).

        After briefing by the parties, the Circuit Judge issued a written opinion dated October 20,

2011. Judge Lightvoet found first that, “There is no question that, despite the precautions taken,

many of the jurors were able to observe Defendant’s shackles/restraints during the trial. This is

clear from the testimony of the jurors and not disputed in the parties’ briefs.” See Judge

Lightvoet’s Opinion After Remand From the Michigan Supreme Court dated 10/20/11, p 2.

Judge Lightvoet then found that the prosecution had met its burden of demonstrating beyond a

reasonable doubt that the fact that Defendant was shackled/restrained did not contribute to the




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jury’s guilty verdict. She based this finding solely on the jurors’ testimony at the evidentiary

hearings. Id., at pp 2-3.



Post-Remand Direct Appellate Review in the State Court

        Petitioner timely appealed the trial court’s opinion by right to the Michigan Court of

Appeals. In an opinion dated December 13, 2012 the Michigan Court of Appeals acknowledged

that five jurors testified on remand that they saw Petitioner shackled at some point during the

proceedings, and that some jurors remembered minor comments about the jurors. People v.

Davenport, unpublished, CA #306868, 12/13/2012, slip op, pp 1-2. The Michigan Court of

Appeals, however, found that the “trial court properly found that the prosecution met its burden

of proving beyond a reasonable doubt that the error did not affect the jury’s verdict.” Id. at p 2.

The Court of Appeals based this finding on the jurors’ testimony on remand that “defendant’s

shackles were not discussed during jury deliberations and that the verdict was based solely on the

evidence presented at trial. The five jurors who observed defendant’s shackles each testified that

they believed there was nothing unusual about his shackling and that it did not influence their

respective verdicts. All of the evidence indicated that the shackling did not affect the verdict in

any way.” Id. at p 2.

        In an order dated September 3, 2013, the Michigan Supreme Court agreed that the

Michigan Court of Appeals erred, but that the error was harmless:

                “On order of the Court, the application for leave to appeal the
                December 13, 2012 judgment of the Court of Appeals is considered,
                and it is DENIED, because we are not persuaded that the question
                should be reviewed by this Court. While the Court of Appeals
                erroneously failed to consider the defendant’s claim in light of the
                United States Supreme Court decision in Holbrook v. Flynn, 475
                U.S. 560, 570; 106 S.Ct. 1340; 89 L.Ed.2d 525 (1986) (“the question
                must be not whether jurors actually articulated a consciousness of



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            some prejudicial effect, but rather whether ‘an unacceptable risk is
            presented of impermissible factors coming into play’”), citing Estelle
            v. Williams, 425 U.S. 501, 505; 96 S.Ct. 1691; 48 L.Ed.2d 126
            (1976), the error was harmless under the facts of this case. Given the
            substantial evidence of guilt presented at trial, we cannot conclude
            that there was an unacceptable risk of impermissible factors coming
            into play.” People v. Ervine Lee Davenport, 494 Mich. 875 (2013).


     Petitioner now files this Petition for Writ of Habeas Corpus.




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                                       STANDARD OF REVIEW

       Because it is being filed after April 24, 1996, this habeas petition is governed by the

Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”). Brumley v. Wingard, 269

F.3d 629, 637 (6th Cir. 2001).

       Pursuant to AEDPA, habeas corpus relief is available with respect to claims adjudicated

on the merits in state court only if the adjudication: (1) resulted in a decision that was contrary

to, or involved an unreasonable application of, clearly established Federal law, as determined by

the Supreme Court of the United States; or (2) resulted in a decision that was based on an

unreasonable determination of the facts in light of the evidence presented in the state court

proceeding. 28 U.S.C. § 2254(d)(1)-(2).

       Under 28 U.S.C. § 2254(d)(1), a state court’s decision is “contrary to ... clearly

established Federal law,” as determined by the U.S. Supreme Court, “if the state court applies a

rule different from the governing law set forth in our cases, or if it decides a case differently than

we have done on a set of materially indistinguishable facts.” Bell v. Cone, 535 U.S. 685, 694,

122 S.Ct. 1843, 152 L.Ed.2d 914 (2002). A state court’s decision “involve[s] an unreasonable

application of[ ] clearly established Federal law” as determined by the U.S. Supreme Court,

within the meaning of § 2254(d)(1), “if the state court identifies the correct governing legal rule

... but unreasonably applies it to the facts” or “if the state court either unreasonably extends a

legal principle from our precedent to a new context where it should not apply or unreasonably

refuses to extend that principle to a new context where it should apply.” Williams v. Taylor, 529

U.S. 362, 407, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000).

       This Court must defer to the state court's legal conclusions unless they are contrary to or

unreasonably apply clearly established federal law as determined by the United States Supreme




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Court. 28 U.S.C. § 2254(d)(1). This Court must defer to the state court's factual conclusions

unless they are based on an unreasonable determination of the facts in light of the evidence

presented in the state court proceeding. 28 U.S.C. § 2254(d)(2). When a State court determines

that a constitutional violation is harmless, a federal court may not award habeas relief under §

2254 unless the harmlessness determination itself was objectively unreasonable. Mitchell v.

Esparza, 540 U.S. 12, 124 S.Ct. 7, 157 L.Ed.2d 263 (2003).

          Petitioner contends that the state court’s decision is both contrary to clearly established

Federal law as established by the U.S. Supreme Court in Illinois v. Allen, 397 U.S. 337, 90 S.Ct.

1057, 25 L.Ed.2d 353 (1970), Holbrook v. Flynn, 475 U.S. 560, 567, 106 S.Ct. 1340, 89 L.Ed.2d

525 (1986), and Deck v. Missouri, 544 U.S. 622, 629, 125 S.Ct. 2007, 161 L.Ed.2d 953 (2005),

and is an unreasonable application thereof.

          Petitioner fully preserved this issue under state law when he argued on direct appeal that

his constitutional right to due process was violated when he was shackled during trial, where the

shackles were visible and seen by five jurors and the subject of comments heard by two

additional jurors, and where the prosecution failed to demonstrate beyond a reasonable doubt that

the shackling error did not contribute to the verdict. Under the standards set forth in Williams v.

Taylor, supra, Petitioner hereby requests that this Court grant his petition for a writ of habeas

corpus.




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               I.      PETITIONER WAS DENIED HIS FEDERAL
                       CONSTITUTIONAL RIGHT TO DUE PROCESS
                       WHERE HE WAS SHACKLED DURING TRIAL,
                       WHERE THE SHACKLES WERE VISIBLE AND
                       SEEN BY FIVE JURORS AND THE SUBJECT OF
                       COMMENTS HEARD BY TWO ADDITIONAL
                       JURORS, AND WHERE THE PROSECUTION
                       FAILED TO DEMONSTRATE BEYOND A
                       REASONABLE DOUBT THAT THE SHACKLING
                       ERROR DID NOT CONTRIBUTE TO THE
                       VERDICT.

       During trial Petitioner was shackled with a belly chain, a wrist shackle on his left hand,

and leg shackles. His right hand was uncuffed to allow him to write notes to defense counsel

during trial. Petitioner objected to the judge’s decision to shackle him, but was overruled (T I,

20-23, 113). The record reveals that the trial judge made none of the pretrial findings necessary

to warrant shackling (T I, 20-23). The shackles were seen by five jurors and were the subject of

comments heard by two additional jurors.

       Petitioner was denied his federal constitutional right to due process where he was

shackled for most of his trial, 3 where five jurors actually observed the shackles and two

additional jurors heard comments from other jurors about the shackles, and where the

prosecution failed to demonstrate beyond a reasonable doubt that the shackling error did not

contribute to the verdict. U.S. Const., Ams V, XIV. Petitioner contends that the State Court’s

decision is both contrary to clearly established Federal law as established by the U.S. Supreme

Court in Illinois v. Allen, 397 U.S. 337, 90 S.Ct. 1057, 25 L.Ed.2d 353 (1970), Holbrook v.

Flynn, 475 U.S. 560, 567, 106 S.Ct. 1340, 89 L.Ed.2d 525 (1986), and Deck v. Missouri, 544

U.S. 622, 629, 125 S.Ct. 2007, 161 L.Ed.2d 953 (2005), and is an unreasonable application

thereof.


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  Petitioner was unshackled, out of the jury’s presence, prior to taking the stand to testify and for
the remainder of that day (T VI, 1005-1010, 1153).

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        Due Process at its core requires fundamental fairness. Due process prohibits the routine

use of visible shackles during courtroom proceedings. “[T]he Fifth and Fourteenth Amendments

prohibit the use of physical restraints visible to the jury absent a trial court determination, in the

exercise of its discretion, that they are justified by a state interest specific to a particular trial.”

Deck v. Missouri, supra; U.S. Const., Ams V, XIV. See also Holbrook v. Flynn, supra; Illinois

v. Allen, supra. Inherent in the American justice system's concept of fairness in the criminal trial

process is the presumption of innocence; fairness mandates that a defendant be presumed

innocent until proven guilty beyond a reasonable doubt. In re Winship, 397 U.S. 358, 363, 90

S.Ct. 1068, 25 L.Ed.2d 368 (1970). Central to this right “is the principle that ‘one accused of a

crime is entitled to have his guilt or innocence determined solely on the basis of the evidence

introduced at trial, and not on grounds of official suspicion, indictment, continued custody, or

other circumstances not adduced as proof at trial.’” Holbrook v. Flynn, 475 U.S. at 567, quoting

Taylor v. Kentucky, 436 U.S. 478, 485, 98 S.Ct. 1930, 56 L.Ed.2d 468 (1978).

        In Deck v. Missouri, the Supreme Court outlined three fundamental legal principles

central to its holding that a defendant has a Due Process right to be free of shackles during the

guilt and penalty phases of a trial. The first is the presumption of innocence. The Supreme Court

concluded that shackling undermines that presumption, as well as the related fairness of the fact-

finding process. The second is the right to counsel. The Supreme Court concluded that shackling

diminishes that right and may interfere with an accused’s “ability to communicate” with his

lawyer and with an accused’s ability to participate in his own defense. The third is the need to

maintain a dignified judicial process. The Supreme Court concluded that shackling constitutes

an “affront” to the dignity of judicial proceedings. Deck, 544 U.S. at 631-634.




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                       A.      NO JUSTIFIABLE REASONS TO SHACKLE

       Because visible shackling is such an extreme measure and is so likely to cause prejudice

to a defendant, it is permitted only when justified by an essential state interest specific to each

trial. Holbrook v. Flynn, 475 U.S. at 568-569. The United States Supreme Court announced in

Illinois v. Allen, 397 U.S. at 344 “that even to contemplate such a technique . . . arouses a feeling

that no person should be tried while shackled and gagged except as a last resort.” Due process

requires the trial court to engage in an analysis of the security risks posed by the defendant and to

consider less restrictive alternatives before permitting a defendant to be restrained. Deck v

Missouri, supra. 544 U.S. at 626-630. Deck recognizes the legitimacy of security concerns, but

the concerns cannot be generalized. They must exist in the particular case, apply specifically to

the defendant on trial in that case, and be articulated on the record. Deck, 544 U.S. at 629-630.

       In 2010, a panel of the Michigan Court of Appeals in Petitioner’s appeal of right correctly

found that the State Circuit Court “failed to make any findings on the record -- let alone findings

that were supported by record evidence that warranted such an extreme precaution.” People v

Ervine Lee Davenport, unpublished, CA 287767, 8/5/10.

       The Michigan Supreme Court then subsequently ruled in Petitioner’s case that: 1) defense

counsel adequately preserved this issue at trial; 2) that Petitioner was entitled to an evidentiary

hearing to develop the record “of whether his shackling during trial prejudiced his defense”; and

3) that “[i]f it is determined that the jury saw the defendant’s shackles, the circuit court shall

determine whether the prosecution can demonstrate beyond a reasonable doubt that the shackling

error did not contribute to the verdict against the defendant.” People v. Ervine Lee Davenport,

488 Mich. 1054 (2011).




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                       B.     PETITIONER HAS ESTABLISHED A RECORD
                              THAT THE SHACKLES WERE VISIBLE TO
                              FIVE JURORS, THAT TWO ADDITIONAL
                              JURORS WERE AWARE OF COMMENTS
                              ABOUT THE SHACKLES, AND ONE OF THESE
                              TWO ALSO NOTICED PETITIONER’S LIMITED
                              MOVEMENT.

       At the evidentiary hearings held on remand in the State Circuit Court, Petitioner

established that the shackles were visible and actually seen by five of the jurors during trial.

Some of these jurors observed the shackles during voir dire, others observed them and/or

discussed them throughout this eight day trial, and some had discussions or made comments

about the shackles as late as the sixth day of trial when Petitioner took the witness stand. Some

of these jurors saw the handcuffs, some observed the belly chain, and some observed the leg/foot

shackles. See Rooseboom (EHT 6/24/11, 14-15); Jankord (EHT 6/24/11, 36-37, 40-42); Lewis

(EHT 6/24/11, 48-49); Vanderveen (EHT 6/24/11, 81-84, 86, 88); and Whately (EHT 6/24/11,

99-102, 104); see also Statement of Facts, supra, for detailed summary of the extent of the

jurors’ observations. Another juror (Padgett) did not see the restraints, but heard 2-3 comments

from other jurors about the restraints (EHT 6/24/11, 59-62, 72-73). Another juror (Kucera) did

not see the restraints, but noticed that Petitioner had limited movement and could only write with

one hand during trial; he also heard one comment from another juror in the hallway about the

restraints (EHT 7/29/11, 17, 19).

       In a written opinion dated October 20, 2011, Circuit Court Judge Lightvoet correctly

found that, “There is no question that, despite the precautions taken, many of the jurors were able

to observe Defendant’s shackles/restraints during the trial. This is clear from the testimony of the

jurors and not disputed in the parties’ briefs.” See Judge Lightvoet’s Opinion After Remand

From the Michigan Supreme Court dated 10/20/11, p 2. However, Judge Lightvoet found any

error to be harmless based on the jurors’ testimony at the evidentiary hearing.


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       Petitioner appealed the State Circuit Court’s opinion by right to the Michigan Court of

Appeals. In an opinion dated December 13, 2012 the Michigan Court of Appeals acknowledged

that five jurors testified on remand that they saw Petitioner shackled at some point during the

proceedings, and that some jurors remembered minor comments about the jurors. People v.

Davenport, unpublished, CA #306868, 12/13/2012, slip op, pp 1-2.

                       C.      UNDER THE PROPER DECK ANALYSIS, THE
                               PROSECUTION FAILED TO DEMONSTRATE
                               BEYOND A REASONABLE DOUBT THAT THE
                               SHACKLING ERROR DID NOT CONTRIBUTE
                               TO THE VERDICT.

       Deck clearly places the burden on the State to prove beyond a reasonable doubt that the

shackling error did not contribute to the verdict:

               “Thus, where a court, without adequate justification, orders the
               defendant to wear shackles that will be seen by the jury, the
               defendant need not demonstrate actual prejudice to make out a due
               process violation. The State must prove ‘beyond a reasonable doubt
               that the [shackling] error complained did not contribute to the verdict
               obtained.’ Chapman v California, 386 US 18, 24, 87 S Ct 824, 17 L
               Ed 2d 705 (1967).” Deck, 544 U.S. at 635.


       The Supreme Court in Deck also made it clear that shackling is “inherently prejudicial,”

that it inevitably undermines the jury’s ability to accurately weigh the relevant considerations,

and that the practice has negative effects that are unquantifiable and elusive:

               “The appearance of the offender during the penalty phase in
               shackles, however, almost inevitably implies to a jury, as a matter of
               common sense, that court authorities consider the offender a danger
               to the community—often a statutory aggravator and nearly always a
               relevant factor in jury decisionmaking, even where the State does not
               specifically argue the point. Cf. Brief for Respondent 25–27. It also
               almost inevitably affects adversely the jury's perception of the
               character of the defendant. See Zant v. Stephens, 462 U.S. 862, 900,
               103 S.Ct. 2733, 77 L.Ed.2d 235 (1983) (REHNQUIST, J.,
               concurring in judgment) (character and propensities of the defendant
               are part of a “unique, individualized judgment regarding the
               punishment that a particular person deserves”). And it thereby


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               inevitably undermines the jury's ability to weigh accurately all
               relevant considerations—considerations that are often unquantifiable
               and elusive—when it determines whether a defendant deserves
               death. In these ways, the use of shackles can be a “thumb [on] death's
               side of the scale.” Sochor v. Florida, 504 U.S. 527, 532, 112 S.Ct.
               2114, 119 L.Ed.2d 326 (1992) (internal quotation marks omitted);
               see also Riggins, 504 U.S., at 142, 112 S.Ct. 1810 (KENNEDY, J.,
               concurring in judgment) (through control of a defendant's
               appearance, the State can exert a “powerful influence on the outcome
               of the trial”).” Deck, 544 US at 632-633.

                                                  ***
               “The third argument [that the defendant suffered no prejudice] fails
               to take account of this Court's statement in Holbrook that shackling is
               “inherently prejudicial.” 475 U.S., at 568, 106 S.Ct. 1340. That
               statement is rooted in our belief that the practice will often have
               negative effects, but—like “the consequences of compelling a
               defendant to wear prison clothing” or of forcing him to stand trial
               while medicated—those effects “cannot be shown from a trial
               transcript.” Riggins, supra, at 137, 112 S.Ct. 1810. Thus, where a
               court, without adequate justification, orders the defendant to wear
               shackles that will be seen by the jury, the defendant need not
               demonstrate actual prejudice to make out a due process violation.
               The State must prove “beyond a reasonable doubt that the
               [shackling] error complained of did not contribute to the verdict
               obtained.” Chapman v. California, 386 U.S. 18, 24, 87 S.Ct. 824, 17
               L.Ed.2d 705 (1967).” Deck, 544 U.S. at 635.



       In Petitioner’s case, the Michigan Court of Appeals found the shackling issue harmless

and affirmed Petitioner’s conviction. People v. Ervine Lee Davenport, unpublished opinion per

curiam of the Michigan Court of Appeals, issued December 13, 2012 (No. 306868). The

Michigan Court of Appeals acknowledged that five jurors testified on remand that they saw Mr.

Davenport shackled at some point during the proceedings, and that some jurors remembered

minor comments about the jurors. The Court of Appeals, however, found that the “trial court

properly found that the prosecution met its burden of proving beyond a reasonable doubt that the

error did not affect the jury’s verdict.” Id. The Court of Appeals based this finding on the jurors’

testimony on remand that “defendant’s shackles were not discussed during jury deliberations and


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that the verdict was based solely on the evidence presented at trial. The five jurors who observed

defendant’s shackles each testified that they believed there was nothing unusual about his

shackling and that it did not influence their respective verdicts. All of the evidence indicated that

the shackling did not affect the verdict in any way.” Id.

       In an order dated September 3, 2013, the Michigan Supreme Court agreed with Petitioner

that the Michigan Court of Appeals erred in relying on the jurors’ assessment of prejudice, but

the Michigan Supreme Court summarily found that the error was harmless:

               “On order of the Court, the application for leave to appeal the
               December 13, 2012 judgment of the Court of Appeals is considered,
               and it is DENIED, because we are not persuaded that the question
               should be reviewed by this Court. While the Court of Appeals
               erroneously failed to consider the defendant’s claim in light of the
               United States Supreme Court decision in Holbrook v. Flynn, 475
               U.S. 560, 570; 106 S.Ct. 1340; 89 L.Ed.2d 525 (1986) (“the question
               must be not whether jurors actually articulated a consciousness of
               some prejudicial effect, but rather whether ‘an unacceptable risk is
               presented of impermissible factors coming into play’”), citing Estelle
               v. Williams, 425 U.S. 501, 505; 96 S.Ct. 1691; 48 L.Ed.2d 126
               (1976), the error was harmless under the facts of this case. Given the
               substantial evidence of guilt presented at trial, we cannot conclude
               that there was an unacceptable risk of impermissible factors coming
               into play.” People v. Ervine Lee Davenport, 494 Mich. 875 (2013).


       Petitioner submits that the Michigan Supreme Court’s summary determination of

harmlessness “on the facts of this case” allows this Court to proceed with an independent review

of the claim “through the lens of § 2254(d).” Price v. Vincent, 538 U.S. 634, 639, 123 S.Ct.

1848, 155 L.Ed.2d 877 (2003). See also Lakin v. Stine, 431 F.3d 959, 963 (6th Cir. 2005). In

addition, Petitioner submits that the Michigan Supreme Court’s harmlessness determination itself

was objectively unreasonable.




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       In the instant case, the shackling of Petitioner was extensive, 4 and the shackles were

actually seen and commented on by the jurors throughout trial. The shackling clearly undermined

the presumption of innocence, as well as the related fairness of the fact-finding process, and was

an affront to the dignity of the judicial proceedings. The prosecution has the burden to

demonstrate beyond a reasonable doubt that the shackling error did not contribute to the verdict

against Petitioner. Deck, 544 U.S. at 635.

       Petitioner was charged with first-degree murder. At trial, he claimed self-defense.

Petitioner testified that Annette White (the deceased) had a propensity for violence (T VI, 1014-

1018). On January 12, 2007, he and Ms. White were drinking beer and smoking crack (T VI,

1023-1031). Dr. Hunter confirmed that at the time of her death, there was a sizeable dose of

parent cocaine in her system and she had a blood alcohol level of .12. The cocaine was used

close to the time of her death (T II, 410-413). While Petitioner was driving her home, she

became agitated and combative; she threatened him with a box cutter and she swung it into his

right arm. Petitioner testified at trial that he grabbed her and pushed her back, pinning her against

the passenger side of the vehicle, but denied that he intended to hurt her (T VI, 1023-1046).

       The pathologist who performed an autopsy on the victim testified on rebuttal that the

victim's neck injury appeared inconsistent “with a broad force placed across” the victim's neck,

and was consistent with “choking” (T VII, 1193-1194). The prosecutor presented evidence

during trial that Petitioner had a propensity for violence, including a prior instance of allegedly

choking Leslie Snook (T III, 712-726).



4
  See Spain v. Rushen, 883 F.2d 712,722 (9th Cir. 1989), where the Ninth Circuit held that “the
greater the intensity of shackling and the chains’ visibility to the jurors, the greater the extent of
prejudice.”; Larson v. Palmateer, 515 F.3d 1057, 1064 (9th Cir. 2008), “[P]hysical restraints such
as a waist chain, leg irons or handcuffs may create a more prejudicial appearance than more
unobtrusive forms of restraint.”

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       During closing argument, the prosecutor repeatedly maintained that Petitioner’s claim of

self-defense was “absolutely bogus” and a bunch of lies (T VII, 1203-1204, 1207-1210, 1253-

1254, 1258, 1262). Both attorneys admitted that the instant case was a credibility battle (T VII,

1217-1218, 1241-1243, 1253-1254, 1258, 1262).

       Petitioner’s case is remarkably similar to Rhoden v. Rowland, 172 F.3d 633 (9th Cir.

1999), where the Ninth Circuit granted habeas relief. The Ninth Circuit initially remanded to

determine whether the jurors observed the shackles and whether it was so inherently prejudicial

that it threatened the fairness of the trial. At the evidentiary hearing in Rhoden, five jurors

testified that they saw the restraints and that the issue of shackling was not mentioned during

deliberations. Rhoden, 172 F.3d at 635-636. The magistrate judge found that the shackles were

visible, but “made little actual impression on them.” Id. Therefore, the magistrate found that

Rhoden was not inherently prejudiced. Id. The District Court adopted the magistrate’s report. Id.

The Ninth Circuit, however, put absolutely no stock in the jurors’ testimony that the shackling

was not mentioned during deliberations, or the finding by the magistrate and District Court that

the shackles made little actual impression on the jurors. Rather, the Ninth Circuit addressed

harmless error as follows:

               “Due process was denied when the trial court ordered Rhoden
               shackled during his trial without a proper determination of the need
               for shackles. See Holbrook, 475 U.S. at 568-69, 106 S.Ct. 1340. In
               Rhoden I, we remanded for the district court to determine what the
               jury saw. Rhoden I, 10 F.3d at 1460. The district court found that
               several of the jurors actually saw the shackles during the trial.
               Indeed, the jurors remembered the shackles even though the hearing
               was six years after the trial. At least two jurors remember other jurors
               making comments to them about the shackles. Moreover, evidence
               indicates that the shackles caused Rhoden physical and emotional
               pain during his trial. Thus, there is a strong likelihood of prejudice
               here. See Holbrook, 475 U.S. at 568, 106 S.Ct. 1340; Spain, 883
               F.2d. at 721; Elledge, 823 F.2d at 1451.




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               Furthermore, Rhoden was charged with violent crimes and the basic
               issue at his trial concerned whether there was consent or whether
               Rhoden used force or fear to overcome his accuser's will. The
               evidence on this issue was disputed and the jurors deliberated for
               over nine hours over three days, which suggests that they did not find
               the case to be clear-cut, Gibson v. Clanon, 633 F.2d 851, 855 n. 8
               (9th Cir.1980). Because at least some of the jurors saw the
               shackles and because the shackles essentially branded Rhoden as
               having a violent nature in a case where his propensity for
               violence was the crucial issue, the shackles “had substantial and
               injurious effect or influence in determining the jury's verdict”
               and thus did not constitute harmless error. Brecht v. Abrahamson,
               507 U.S. 619, 637, 113 S.Ct. 1710, 123 L.Ed.2d 353; Calderon v.
               Coleman, 525 U.S. 141, 119 S.Ct. 500, 503, --- L.Ed.2d ---- (1998);
               Castillo, 997 F.2d at 669; Duckett, 67 F.3d at 749.

               The judgment of dismissal is REVERSED and the matter is
               REMANDED with instructions to grant the petition.” Rhoden, 172
               F3d at 637-638 (emphasis added).


       Likewise, in Petitioner Davenport’s case, the extensive shackles essentially branded him

as having a violent nature in a case where his propensity for violence was the crucial issue in this

murder trial where Petitioner claimed self-defense. Petitioner was entitled to the indicia of

innocence throughout his trial. In the presence of the jury, he was entitled to be relieved of the

shackles, so as not to mark him as an obviously violent and dangerous man or to suggest that the

fact of his guilt was a foregone conclusion. Instead, Petitioner was clothed in chains; he was

completely shackled from his waist to his feet – his left hand was shackled to a belly chain, and

his legs were shackled. The jurors remembered seeing the shackles even though the evidentiary

hearing was     held   three   years   after the     trial.   The jurors   also   remembered    the

comments/discussions that were made about the shackles throughout trial.

       Three jurors testified on remand that they believed Petitioner was dangerous. Juror

Jankord opined that the purpose of the shackling and the deputies in the courtroom was for

security; he “absolutely” thought that Petitioner might be dangerous (EHT 6/24/11, 43). He



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added that he presumed he was dangerous because of the nature of the case (EHT 6/24/11, 45).

Juror Vanderveen acknowledged that there were 2-3 deputies in the courtroom during trial; when

he saw the restraints, he assumed that Petitioner might be dangerous (EHT 6/24/11, 89). He

wasn’t fearful but he felt safer knowing that Petitioner was charged with murder one and that he

was shackled (EHT 6/24/11, 90). Juror Whately noticed that Petitioner “is a big guy” (EHT

6/24/11, 98). Mr. Whately observed the foot shackles and the handcuffs (EHT 6/24/11, 99-104).

Mr. Whately recalled that there were at least three deputies if not more in the courtroom during

the trial; he thought there was a deputy that was standing next to Petitioner when he testified, but

he could not “remember for sure” (EHT 6/24/11, 105). Based on the murder charge, Mr.

Whately thought Petitioner “could be dangerous, but I didn’t think he would do something in

here.” (EHT 6/24/11, 106). In addition, Juror Padgett explained that her seat in the jury box was

in the front row at the end. She felt nervous when one of the shackled witnesses testified, but

there was a deputy standing right there (EHT 6/24/11, 63-66). Ms. Padgett also testified that

when Petitioner testified, “they were sure --        there were more guards because he wasn’t

[restrained].” (EHT 6/24/11, 68). Because she was probably the closest to Petitioner when he

testified, the other juror asked if that made her nervous (EHT 6/24/11, 68-69).

       At trial, the prosecution presented evidence that Petitioner disposed of the body,

attempted to get rid of the shoes he wore, stole items from the victim’s apartment and sold them.

After Petitioner testified that he acted in self-defense, the prosecution called Dr. Hunter as a

rebuttal witness; he testified that it would take several minutes of applying pressure to strangle

someone.

       Petitioner submits that the first three factors cited above are post-incident factors that are

equally indicative of panic after the incident. Although Dr. Hunter’s testimony was damaging,




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Petitioner maintains that even if the jury reasonably believed his testimony, they still might not

have concluded that Petitioner was guilty of first-degree murder. The question whether

Petitioner’s use of force would be first-degree murder, second-degree murder or manslaughter

was an issue for the jury. The shackling undermined the jury’s ability to impartially examine

Petitioner’s credibility. Petitioner testified and gave an account of the altercation that conflicted

with Dr. Hunter’s testimony.

         At the time of trial, Petitioner was a 43-year-old African-American male who was 6’ 5”

tall and weighed 270 pounds. 5       The shackling of Petitioner throughout trial confirmed the

Prosecution’s theory of Petitioner’s conduct, thereby lending additional credibility to the

Prosecution’s case. The jurors may have been less willing to believe Petitioner. From the very

beginning of this trial, the visible shackles stripped Petitioner of his presumption of innocence, of

his right to a fair and impartial jury, undermined the fairness of the fact-finding process, and

were an affront to the dignity of the trial. U.S. Const., Ams VI, XIV. Four of the five jurors

testified that they observed the shackles during voir dire (EHT 6/24/11, 14, 36, 81, 99-100).

From the very beginning of this trial, these four jurors were inherently influenced by the shackles

and invited to perceive Petitioner as a dangerous man who the Court had deemed required

shackling in this first-degree murder case. From the very beginning of this trial, these jurors

were unable to view the evidence impartially. The shackling of Petitioner relates to factual

questions that went to the heart of the jury’s role in this case: to weigh the relative credibility of

witnesses in a case that turned almost entirely on whether the jury found Petitioner’s version of

events to be credible. The jury’s duty to resolve these factual questions was severely impaired

when it observed Petitioner in shackles, which besmirched Petitioner’s character.



5
    See Basic Information Sheet of Presentence Investigation Report.

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       The jury deliberated for about six hours over the course of two days, which suggests they

did not find the case to be clear cut. Because five of the jurors actually saw the shackles and two

additional jurors either heard comments about the shackles or noticed Petitioner’s limited

movement, and because the shackles clearly branded Petitioner as having a violent nature in a

case where his propensity for violence was the crucial issue, the prosecution did not demonstrate

beyond a reasonable doubt that the shackling error did not contribute to the verdict against

Petitioner. The extensive shackling of Petitioner in this case marked him as a violent and

dangerous man. Without uttering a word or making a gesture, he stood virtually convicted before

the jury at the very beginning of this trial. His absolute right to the presumption of innocence was

not just diminished, but rather it was obliterated. The shackles destroyed Petitioner’s credibility

and his claim of self-defense in this context. The shackles were a constant reminder that the State

Circuit Court Judge had deemed Petitioner, a large African-American male, to be so dangerous

that he required shackles. This extensive shackling “had substantial and injurious effect or

influence in determining the jury’s verdict” and thus did not constitute harmless error. Brecht v.

Abrahamson, 507 U.S. 619, 637, 113 S.Ct. 1710, 123 L.Ed.2d 353 (1993). The Michigan

Supreme Court’s harmlessness determination itself was objectively unreasonable in this case.

       Furthermore, the State appellate court should not have invaded the province of the jury in

determining whether the shackles were harmless. Petitioner has a constitutional right to a trial by

an impartial jury, to have the jury weigh the evidence and make credibility determinations, and

to have the jury determine whether he is guilty. U.S. Const., Ams VI, XIV; Sullivan v. Louisiana,

508 U.S. 275, 277, 113 S.Ct. 2078, 124 L.Ed.2d 182 (1993). The appellate court should not make

its own credibility determinations with regard to Petitioner’s self-defense claim. As the Sixth

Circuit made clear in Barker v. Yukins, 199 F.3d 867, 874-875 (6th Cir. 1999), “It is neither the




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proper role for a state supreme court, nor for this Court, to stand in the place of the jury,

weighing competing evidence and deciding that some evidence is more believable than others.”

Id. at 874. The verdict in this case necessarily required the jurors to believe the prosecution

witnesses and to disbelieve Petitioner. The jury’s assessment of Petitioner’s credibility may have

been affected by the clear suggestion that Petitioner posed such a security problem that a belly

chain, wrist shackles and leg shackles were needed throughout trial. Because the shackling error

may have tipped the balance, the prosecution cannot demonstrate beyond a reasonable doubt that

the shackling error did not contribute to the verdict against Petitioner. He is entitled to have his

conviction reversed and to receive a new trial.

       Finally, the orange jail uniform worn by Petitioner only during the morning session of the

first day of trial does not render the error harmless. 6 At the evidentiary hearings the prosecutor

questioned the jurors about whether they noticed Petitioner’s attire at trial. Most of the jurors

(seven) noticed that Petitioner was wearing an orange jail uniform at the beginning of the trial

(EHT 6/24/11, 14-15, 27, 36, 59, 81, 91, 98). Jurors Lewis, Ruzick, Engster, Weishar, and

Kucera did not recall seeing the orange jail uniform.

       The orange jail uniform does not render the shackling error harmless. The jail uniform

made it clear that Petitioner was incarcerated at the time of trial; however, the wrist shackle, the

belly chain, and the leg shackles on Petitioner were far more damaging and prejudicial, as the

shackles made it clear that Petitioner was dangerous, and a bad man with such a propensity for

violence that the multiple sheriff deputies in the courtroom could not handle him without the full

complement of shackles. Petitioner submits that the jail uniform actually compounded the


6
 After several delays of the trial date over an 18 month period, Petitioner did not believe trial
was going to commence. However, once he determined that trial was actually going to start,
defense counsel made a timely objection to the jail clothing and she twice requested that
Petitioner be allowed to change into his civilian clothes prior to voir dire (T I, 19-24).

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shackling error, as it reinforced Petitioner’s status. Shackles inherently signify a need to restrain

someone because the Court has deemed them dangerous and that they have a propensity for

violence. Such an implication is more prejudicial than a mere understanding that someone is in

jail pending a trial. See Estelle v. Williams, 425 U.S. 501, 96 S.Ct. 1691, 48 L.Ed.2d 126 (1976).

       The state court’s decision in Petitioner’s case is both contrary to clearly established

Federal law as established by the U.S. Supreme Court, and an unreasonable application thereof.

Furthermore, the Michigan Supreme Court’s harmlessness determination itself was objectively

unreasonable. This Court should grant this Petition for Writ of Habeas Corpus.




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                            SUMMARY AND RELIEF REQUESTED

          For these reasons, Petitioner Davenport asks that this Court grant the petition for habeas

corpus.



                                        Respectfully submitted,

                                        STATE APPELLATE DEFENDER OFFICE

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Dated: September 25, 2014




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                                  CERTIFICATE OF SERVICE


       I hereby certify that on September 25, 2014, I electronically filed the foregoing paper with

the Clerk of the Court using the ECF system and have mailed a hard copy by U.S. Postal Service to

the following:

                 Michigan Attorney General,
                 Criminal Appellate Division
                 525 West Ottawa
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